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       EXHIBIT A – DISCOVERY REQUESTS
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Gambale, Alexis R.

From:                             Gambale, Alexis R.
Sent:                             Friday, October 7, 2022 3:31 PM
To:                               sam.alberts@dentons.com; andrew.helman@dentons.com;
                                  tcairns@pszjlaw.com; ljones@pszjlaw.com;
                                  mcaloway@pszjlaw.com; mlitvak@pszjlaw.com;
                                  lauren.macksoud@dentons.com; samuel.maizel@dentons.com;
                                  geoffrey.miller@dentons.com;
                                  claude.montgomery@dentons.com;
                                  tania.moyron@dentons.com; Lee.Smith@dentons.com
Cc:                               Goldberger, Leonard P.; Huston, Joseph H. , Jr.; Pourakis,
                                  Constantine
Subject:                          In re First Guaranty Mortgage Corporation, et al., Case No.
                                  22-10584 (CTG) - Kari Crutcher's First Set of Discovery Requests
Attachments:                      FGMC - Discovery Requests.pdf


Good afternoon,

Attached please find Kari Crutcher’s First Set of Interrogatories and Requests for Production of
Documents propounded to the Debtors. A hardcopy has been sent via FedEx, as well.

Thank you.

Alexis R. Gambale
Stevens & Lee, A Pennsylvania Professional Corporation
Princeton Pike Corporate Center
100 Lenox Drive, Suite 200
Lawrenceville, NJ 08648
T: 609-718-0919
F: 610-988-2319
alexis.gambale@stevenslee.com




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           ) Chapter 11
 In re:                                                    )
                                                           ) Case No. 22-10584 (CTG)
 FIRST GUARANTY MORTGAGE                                   )
 CORPORATION, et al.,1                                     ) Jointly Administered
                                                           )
                                   Debtors.                )
                                                           )

                    NOTICE OF SERVICE OF KARI CRUTCHER’S FIRST SET
                        OF INTERROGATORIES AND REQUESTS FOR
                        PRODUCTION OF DOCUMENTS TO DEBTORS

           I, Leonard P. Goldberger, hereby certify that on October 7, 2022, I caused a copy of Kari

   Crutcher’s First Set of Interrogatories and Requests for Production of Documents to Debtors to

   be served on the following parties via Federal Express and Email:

                                           Timothy P. Cairns
Sam J. Alberts                                                                Mary F. Caloway
                                           Pachulski Stang Young &
Dentons US LLP                                                                Pachulski Stang Ziehl & Jones
                                           Jones LLP
1900 K Street, NW                                                             919 North Market Street, Suite
                                           919 N. Market Street
Ste 600, East Tower                                                           1700
                                           17th Floor
Washington, DC 20006                                                          Wilmington, DE 19801
                                           Wilmington, DE 19801
202-408-7004                                                                  302-778-6464
                                           302-652-4100
Fax : 202-408-6399                                                            Fax : 302-652-4400
                                           Fax : 302-652-4400
Email: sam.alberts@dentons.com                                                Email: mcaloway@pszjlaw.com
                                           Email: tcairns@pszjlaw.com
                                                                              Maxim B. Litvak
Andrew C. Helman                           Laura Davis Jones
                                                                              Pachulski Stang Ziehl & Jones
Dentons Bingham Greenebaum,                Pachulski Stang Ziehl & Jones
                                                                              LLP
LLC                                        LLP
                                                                              One Market Plaza
One Beacon Street                          919 N. Market Street, 17th
                                                                              Spear Tower
Suite 25300                                Floor
                                                                              40th Floor
Boston, MA 02108                           Wilmington, DE 19801
                                                                              San Francisco, CA 94105-1020
(207) 619-0919                             302 652-4100
                                                                              415-263-7000
Email:                                     Fax : 302-652-4400
                                                                              Fax : 415-263-7010
andrew.helman@dentons.com                  Email: ljones@pszjlaw.com
                                                                              Email: mlitvak@pszjlaw.com



   1
           The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
           identification number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC
           (5621). The Debtors ‘mailing address is 5800 Tennyson Parkway, Suite 450, Plano, TX 75024.



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Lauren Macksoud                            Samuel R. Maizel               Geoffrey M. Miller
Dentons US LLP                             Dentons US LLP                 Dentons US LLP
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New York, NY 10020-1089                    Suite 2500                     New York, NY 10020
212-768-5347                               Los Angeles, CA 90017          Email:
Fax : 212-768-6800                         213-892-2910                   geoffrey.miller@dentons.com
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Claude D. Montgomery
                                           Tania M. Moyron
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                                           Dentons US LLP
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                                           601 South Figueroa Street,
New York, NY 10020                                                        1221 Avenue of the Americas
                                           Suite 2500
212-632-8390                                                              New York, NY 10020-1089
                                           Los Angeles, CA 90017
Fax : 212-768-6800                                                        (212) 768-6700
                                           213-243-6101
Email:                                                                    Email: Lee.Smith@dentons.com
                                           Email:
claude.montgomery@dentons.com
                                           tania.moyron@dentons.com

   Dated: October 7, 2022                            STEVENS & LEE, P.C.

                                                     /s/ Leonard P. Goldberger
                                                     Leonard P. Goldberger (pro hac vice admission to
                                                     be submitted)
                                                     620 Freedom Business Center, Suite 200
                                                     King of Prussia, PA 19406
                                                     Telephone: 610-205-6046
                                                     Email: leonard.goldberger@stevenslee.com

                                                     -and-


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                                                     693 East Avenue
                                                     Rochester, NY 14607
                                                     Telephone: (585) 272-0540
                                                     Email: nthomas@theemploymentattorneys.com

                                                     Counsel for Kari Crutcher




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         ) Chapter 11
In re:                                                   )
                                                         ) Case No. 22-10584 (CTG)
FIRST GUARANTY MORTGAGE                                  )
CORPORATION, et al.,1                                    ) Jointly Administered
                                                         )
                                  Debtors.               )
                                                         )

                KARI CRUTCHER’S FIRST SET OF INTERROGATORIES AND
               REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEBTORS

          Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure (the “Federal

  Rules”), made applicable hereto pursuant to Rules 7026, 7033, 7034, and 9014 of the Federal

  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Local Rules of the United States

  District Court for the District of Delaware, made applicable hereto pursuant to the Local Rules

  for the United States Bankruptcy Court for the District of Delaware (collectively the “Local

  Rules”), Kari Crutcher (“Ms. Crutcher”), by and through her undersigned counsel, hereby

  requests that the above-captioned debtors (the “Debtors”) respond to the interrogatories (the

  “Interrogatories”) and document requests (the “Document Requests”) listed below in full and

  in detail according to the following instructions.

          Ms. Crutcher requests that Debtors’ responses (and any associated documents) be served

  on Joseph H. Huston, Jr. of Stevens & Lee, P.C., 919 North Market Street, Suite 1300

  Wilmington, DE 19801, on or before November 6, 2022.

          The Interrogatories and Document Requests incorporate by reference all definitions and

  rules of construction set forth in the Federal Rules and any applicable Local Rules, which apply

  1
          The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
          identification number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC
          (5621). The Debtors ‘mailing address is 5800 Tennyson Parkway, Suite 450, Plano, TX 75024.



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to each Interrogatory and Document Request set forth herein. The Interrogatories are deemed to

be continuing, so that any additional documents or information relating in any way to the

Interrogatories, which the Debtors acquire will be furnished to Ms. Crutcher immediately.

                                         DEFINITIONS

        For purposes of the Interrogatories and Document Requests, the following terms shall

have the following meanings:

        1.       The terms “you,” “your,” and “Debtors” shall mean the above-captioned jointly

administered debtors and their respective parents, affiliates, or subsidiaries, along with their

respective employees, partners, officers, directors, shareholders, members, advisors, consultants,

accountants, financial advisors, agents, and attorneys.

        2.       The term “Action” shall mean the case captioned United States of America ex el.

Kari Crutcher v. First Guaranty Mortgage Corporation, et al., Civil Action No. 16-CV-03812-

SCJ.

        3.       The term “First Amended Complaint” shall mean the first amended complaint

filed on June 29, 2022 in the Action.

        4.       The term “Insurance Motion” shall mean the Motion of the Debtors for Entry of

Order (I) Authorizing the Debtors to Continue (A) Insurance Programs and (B) Prepetition

Surety Bonds, and Pay Obligations Arising Thereunder, and (II) Related Relief [Dkt. No. 6] filed

in the Debtors’ bankruptcy case.

        5.       The term “Claims Counsel” shall mean any attorneys or law firms retained by any

of the Defendants to represent one or more of the Defendants, individually or as a group, in

connection with the Action.




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        6.       The term “Defendants” shall mean the defendants in the amended complaint filed

in the Action.

        7.       The term “PIMCO” shall mean “Pacific Investment Management Company,

LLC,” “PIMCO Investments, LLC.”

        8.       The terms “all” or “each” shall be construed as all and each.

        9.       The terms “and” and “or” shall be construed either disjunctively or conjunctively

as necessary to bring within the scope of these requests all responses that might otherwise be

construed to be outside their scope.

        10.      The term “communication” means the transmittal of information (in the form of

facts, ideas, inquiries or otherwise).

        11.      The terms “relate,” “relating,” “concern,” or “concerning,” in addition to their

natural meaning, shall also mean reflecting, constituting, containing, pertaining to, referring to,

indicating, showing, evidencing, describing, discussing, mentioning, bearing upon, comprising,

and relating to.

        12.      The term “document” shall mean those things described in Rule 34(a) of the

Federal Rules of Civil Procedure, made applicable in bankruptcy cases by Rules 7304 and 9014

of the Federal Rules of Bankruptcy Procedure. The terms “document” and “documents” are used

herein in the broadest possible sense, including, without limiting the generality of this definition,

any written, printed, typed, recorded, taped, graphic, computerized printout, electronically stored

information, electronic data, electronically or computerized compiled, or other matter or

materials, from whatever source, including information stored on any electronic media, however

produced or reproduced or capable of being produced, whether in draft form or otherwise,

whether sent or received or neither—including the original, a copy (if the original is not



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available), and non-identical copies (whether different from the original because of notes made

on or attached to such copies or otherwise) and all drafts of all writings, confirmations, invoices,

orders, studies, assays, audit reports, wire transfers, correspondence, letters, statements,

telegrams, telexes, cables, contracts, proposals, agreements, minutes, notes, memoranda,

analyses, projections, work papers, books, records, reports, diaries, questionnaires, books of

account, checks, check stubs, lists, logs, calendars, graphs, charts, sketches, diagrams, drawings,

photographs, motion picture films, summaries, digests, financial statements, and all other

information or data records or compilations, including all underlying, supporting, or preparatory

material.

        13.      The term “Identify” shall have the following meaning when used in the following

contexts:

                 a.      When used in connection with a corporation, partnership, association, joint

                 venture, firm, or other business enterprise or legal entity, please state in the

                 answer in each instance: (i) the full name and address; (ii) a brief description of

                 the primary business in which such entity is engaged; and (iii) the identity of all

                 persons who acted or were authorized to act on its behalf in connection with the

                 matter referred to.

                 b.      When used in connection with a communication, please state in the answer

                 in each instance: (i) the identity of each person communicating; (ii) the identity of

                 the recipient(s) and intended recipient(s) of the communication; (iii) the identity

                 of each person presently or otherwise aware of the substance of the

                 communication; (iv) the date and the place where the communication was made;

                 (v) the identity of any document that embodies, includes, reflects, concerns,



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                 relates to, or is based upon the communication; and (vi) a detailed description of

                 the substance of the communication.

                 c.      When used in connection with a transaction, please state in the answer in

                 each instance: (i) a description of the property or thing that is the subject of the

                 transaction; (ii) the identity of the parties to the transaction; (iii) the date of the

                 transaction; (iv) the place or site where the transaction took place; (v) the location

                 of the property or thing that was the subject to the transaction at the time the

                 transaction took place; (vi) the identity of all persons who have knowledge of the

                 transaction; and (vii) identify all documents that refer or relate to the transaction.

        14.      Documents that “refer or relate to” a given subject matter mean any document

that constitutes, contains, embodies, compromises, reflects, identifies, states, deals with,

comments on, responds to, describes, analyses, or is in any way pertinent to that subject.

        15.      The term “including” shall mean “including without limitation.”

                          INSTRUCTIONS FOR INTERROGATORIES

        A.       The Interrogatories are continuing in character, so as to require you to provide

supplemental answers if you obtain further, contradictory, or different information.               Such

supplemental answers shall be provided from time to time promptly upon the discovery by you

of such supplemental information. Each Interrogatory is to be answered separately and as

completely as possible.        The fact that an investigation is continuing and discovery is not

complete shall not be used as a reason for failure to answer any Interrogatory as fully as possible.

        B.       Answers to the Interrogatories shall be based upon information known to you. To

the extent that the answer to any Interrogatory is not based upon information known to you,

please specify that fact and identify the person possessing such information.



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        C.       If the answer to all or any part of an Interrogatory is not presently known by or

available to you, include a statement to that effect, specifying the portion of the Interrogatory

which cannot be completely answered.

        D.       If you refuse to answer any Interrogatory or any part thereof on the grounds of

privilege, please identify the claimed privilege (i.e., attorney-client) and the nature of any

information you refuse to disclose, referring specifically to the Interrogatory or any part thereof

to which the claimed privilege applies, the form in which said information exists, and the

grounds for the claimed privilege.

        E.       Unless otherwise specified in any of the interrogatories below, these

interrogatories cover the time period from January 1, 2006 through the present.




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                                        INTERROGATORIES


        INTERROGATORY NO. 1: Identify whether the Debtors or any of the other

Defendants put any insurance carrier(s) on notice about a potential claim in the Action. If the

answer is yes, identify how notice was made.

        RESPONSE:




        INTERROGATORY NO. 2: If the answer to Interrogatory No. 2 is no, identify whether

the Debtors or any of the other Defendants have investigated or taken any action as to that issue.

        RESPONSE:




        INTERROGATORY NO. 3: Identify all persons who provided the knowledge,

documents, or information used, reviewed, or referenced in answering these interrogatories and

document requests.

        RESPONSE:




        INTERROGATORY NO. 4: Identify all Claims Counsel, and identify all documents

relating to the retention of Claims Counsel.

        RESPONSE:




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        INTERROGATORY NO. 5: Identify and describe any communication by Claims

Counsel to put any insurance carrier(s) on notice about a potential claim in the Action, and

identify all documents relating to such communication.

        RESPONSE:




        INTERROGATORY NO. 6: Identify and describe any investigation by the Debtors or

any of the other Defendants as to a potential legal malpractice claim against Claims Counsel for

not providing notice of a potential claim regarding the Action or other act or failure to act in

connection with any insurance coverage relating to the Action, and identify all documents

relating to such investigation.

        RESPONSE:




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                        INSTRUCTIONS FOR DOCUMENT REQUESTS

        A.       If you claim any form of privilege, whether based upon statute or otherwise, as a

ground for not producing any document or other tangible thing, set forth all facts upon which such

claim of privilege is based.

        B.       If you claim any form of privilege, whether based upon statute or otherwise, as a

ground for not producing any document or other tangible thing, identify the subject document or

tangible thing and set forth all facts upon which such claim of privilege is based, and for each

document or tangible thing as to which you claim any form of privilege, identify (i) the date of the

document, (ii) the date upon which the document or tangible thing was prepared, (iii) the title or

caption of the document, (iv) the form of the document or tangible thing (e.g. letter, memorandum,

chart, etc.), (v) the subject matter of the document or tangible thing, (vi) the author(s) and/or any

and all other persons involved or participating in preparing or drafting the document or tangible

thing, (vii) and the recipient(s) of the document and/or other tangible thing or any copy thereof,

including all persons to whom the document or tangible thing has been provided or who have it

within their possession, custody or control, and (viii) the privilege claimed.

        C.       If any document or other tangible thing responsive to any request for documents has

been destroyed, identify (i) any and all persons who participated in, or who were involved in, the

decision to destroy such document or other tangible thing, (ii) any document retention or destruction

policy under which such document or other tangible thing was destroyed and any and all persons

who participated in, or who were involved in, the formulation of any such policy, (iii) the reason for

the destruction of such document or other tangible thing, and (iv) the date (or approximate date if

precise date is not known) of the destruction of such document or other tangible thing.




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        D.       Except for reference to defined or designated terms, or unless otherwise expressly

stated, each request for production of documents shall be construed independently and not by

reference to any other request for production of documents or other tangible things herein for

purposes of limitation.

        E.       Electronically stored information shall be produced in its native format without

cleansing, purging or deletion of any and all metadata.

        F.       Unless specifically noted otherwise, the relevant time frame of the within request for

production of documents and/or tangible things shall be from January 1, 2006 up until the date upon

which responses thereto are due, and as may be later supplemented, in accordance with the Federal

Rules of Civil Procedure, as made applicable hereto by the Federal Rules of Bankruptcy Procedure.




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                                        DOCUMENT REQUESTS

        REQUEST NO. 1:            All documents (carrier, total and per-incident limits, deductibles,

risk retentions, and any use/reduction of limits, deductibles, or risk retentions) relating to any

insurance policies the Debtors possess covering themselves or any other Defendants for any

costs or losses related to legal claims that could be brought against any of the Defendants relating

to the Action. Without limiting the scope of this request, the request expressly includes among

other things: general liability insurance policies; umbrella insurance policies; errors and

omissions insurance policies; excess errors and omissions insurance policies; directors and

officers insurance policies; insurance coverage that has ever been found to cover claims such as

Ms. Crutcher’s in the Actiony, inclusive of all prior policies similar to those set forth in the

Insurance Motion.

        RESPONSE:




        REQUEST NO. 2:            All documents submitted to an insurance carrier(s) identified in the

response to Request No. 1 relating to the Action.

        RESPONSE:




        REQUEST NO. 3:            All documents (carrier, total and per-incident limits, and any

use/reduction of limits) for umbrella or higher-tier-in-tower insurance policies, including, but not

limited to, insurance policies outlined in the Insurance Motion.

        RESPONSE:



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        REQUEST NO. 4:            All documents submitted to an insurance carrier(s) identified in the

response to Request No. 3 relating to the Action.

        RESPONSE:




        REQUEST NO. 5: All documents relating to any investigation by the Debtors or any of

the other Defendants as to a potential legal malpractice claim against Claims Counsel for not

providing notice of a potential claim regarding the Action or other act or failure to act in

connection with any insurance coverage relating to the Action.

        RESPONSE:




        REQUEST NO. 6: All documents identified in response to the foregoing interrogatories.

        RESPONSE:




Dated: October 7, 2022                           STEVENS & LEE, P.C.

                                                 /s/ Leonard P. Goldberger
                                                 Leonard P. Goldberger (pro hac vice admission to
                                                 be submitted)
                                                 620 Freedom Business Center, Suite 200
                                                 King of Prussia, PA 19406
                                                 Telephone: 610-205-6046
                                                 Email: leonard.goldberger@stevenslee.com



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                                             – and –

                                             THOMAS & SOLOMON LLP

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                                             Rochester, NY 14607
                                             Telephone: (585) 272-0540
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                                             Counsel for Kari Crutcher




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